


  DECISION
 

  PER CURIAM:
 

  T1 This matter is before the court on Frederick Roberts and Marianne Roberts's motion for summary disposition. The Rob-ertses argue that the October 22, 2010 judgment is not a final, appealable order because the district court reserved the issue concerning the amount of attorney fees to be awarded for a later date.
 

  T2 "An appeal may be taken from a district or juvenile court to the appellate court with jurisdiction over the appeal from all final orders and judgments." Utah R.App. P. 3(a). "To be final, the trial court's order or judgment must dispose of all parties and claims to an action." Bradbury v. Valencia, 2000 UT 50, T 10, 5 P.3d 649. In order for a judgment to be final, "a trial court must even determine attorney fee awards." Id.
 

  T3 The judgment is not a final, appealable judgment because it does not resolve all issues raised in the unlawful detainer case. Specifically, the judgment stated that the Robertses were "awarded attorney's fees to be established by affidavit, and their costs herein." Therefore, the judgment did not resolve the entire dispute between the parties. Accordingly, we lack jurisdiction over the appeal and must dismiss. See Varian, Eimac, Inc. v. Lamoreaux, 767 P.2d 569, 570 (Utah Ct.App.1989).
 

  T4 The appeal is dismissed without prejudice to the filing of a timely appeal from a final order.
 
